Case: 24-60395      Document: 16        Page: 1   Date Filed: 08/07/2024




                            No. 24-60395
      IN THE UNITED STATES COURT OF APPEALS
              FOR THE FIFTH CIRCUIT
             REPUBLICAN NATIONAL COMMITTEE, et al.,
                                  Plaintiffs-Appellants,
                                   v.
         JUSTIN WETZEL, in his official capacity as the clerk
     and registrar of the Circuit Court of Harrison County, et al.
                                        Defendants-Appellees,
                   VET VOICE FOUNDATION, et al.,
                               Intervenor-Defendants-Appellees.
          On Appeal from the United States District Court
              for the Southern District of Mississippi
             Nos. 1:24-cv-25, 1:24-cv-37 (Guirola, J.)

                    APPELLANTS’ MOTION
                   FOR EXPEDITED APPEAL


Spencer M. Ritchie                        Thomas R. McCarthy
Forman Watkins & Krutz LLP                Conor D. Woodfin
210 East Capitol Street, Ste. 2200        CONSOVOY MCCARTHY PLLC
Jackson, MS 39201                         1600 Wilson Blvd., Ste. 700
(601) 960-3172                            Arlington, VA 22209
spencer.ritchie@formanwatkins.com         (703) 243-9423
                                          tom@consovoymccarthy.com
Dated: August 7, 2024                     conor@consovoymccarthy.com

          Counsel for Appellants Republican National Committee,
       Mississippi Republican Party, James Perry, and Matthew Lamb
        Case: 24-60395       Document: 16     Page: 2      Date Filed: 08/07/2024




                   CERTIFICATE OF INTERESTED PERSONS
                  No. 24-60395, Republican National Committee v. Wetzel

      The undersigned counsel of record certifies that the following listed persons and

entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an interest

in the outcome of this case. These representations are made so that the judges of this

Court can evaluate possible disqualification or recusal:

 Plaintiffs (No. 1:24-cv-25):                Counsel for Plaintiffs (No. 1:24-cv-25):

 Republican National Committee,              Spencer M. Ritchie
 Mississippi Republican Party, James         Forman Watkins & Krutz, LLP
 Perry, Matthew Lamb                         210 E. Capitol St., Suite 2200
                                             Jackson, MS 39225-2608
                                             (601) 960-3172
                                             spencer.ritchie@formanwatkins.com

                                             Thomas R. McCarthy
                                             Conor D. Woodfin
                                             Consovoy McCarthy, PLLC
                                             1600 Wilson Blvd., Suite 700
                                             Arlington, VA 22209
                                             (703) 243-9423
                                             tom@consovoymccarthy.com
                                             conor@consovoymccarthy.com


 Plaintiff (No. 1:24-cv-37):                 Counsel for Plaintiff (No. 1:24-cv-37):

 Libertarian Party of Mississippi            T. Russell Nobile
                                             Judicial Watch, Inc.
                                             Post Office Box 6592
                                             Gulfport, MS 39506
                                             (202) 527-9866
                                             rnobile@judicialwatch.org




                                                i
       Case: 24-60395     Document: 16    Page: 3   Date Filed: 08/07/2024




State Defendant:                         Counsel for State Defendant:

Secretary of State Michael Watson        Scott G. Stewart, Solicitor General
                                         Rex M. Shannon, III
                                         Wilson D. Minor
                                         Mississippi Attorney General’s Office
                                         P.O. Box 220
                                         Jackson, MS 39205-0220
                                         (601) 359-6279
                                         scott.stewart@ago.ms.gov
                                         rex.shannon@ago.ms.gov
                                         wilson.minor@ago.ms.gov
County Defendants:                       Counsel for County Defendants:

Justin Wetzel, Toni Jo Diaz, Becky       Tim C. Holleman
Payne, Barbara Kimball, Christene        Boyce Holleman and Associates, P.A.
Brice, Carolyn Handler                   1720 23rd Avenue
                                         Gulfport, MS 39501
                                         (228) 863-3142
                                         tim@boyceholleman.com
Intervenor-Defendants:                   Counsel for Intervenor-Defendants:

Vet Voice Foundation, Mississippi        Christopher D. Dodge
Alliance for Retired Americans           Elisabeth C. Frost
                                         Michael Brandon Jones
                                         Richard Alexander Medina
                                         Tina Meng Morrison
                                         Elias Law Group, LLP
                                         250 Massachusetts Ave NW, Suite 400
                                         Washington, DC 20001
                                         (202) 987-4928
                                         cdodge@elias.law
                                         efrost@elias.law
                                         mbj@michaelbrandonjones.com
                                         rmedina@elias.law
                                         tmengmorrison@elias.law




                                           ii
         Case: 24-60395    Document: 16     Page: 4    Date Filed: 08/07/2024




                                           Paloma Wu
                                           Mississippi Center for Justice
                                           210 E. Capitol Street, Suite 1800
                                           Jackson, MS 39201
                                           601-352-2269
                                           pwu@mscenterforjustice.org

                                           Robert B. McDuff
                                           The Law Office of Robert McDuff
                                           767 North Congress Street
                                           Jackson, MS 39202
                                           (601) 969-0802
                                           RBM@McDuffLaw.com
Amici:                                     Counsel for Amici:

Disability Rights Mississippi, League of   Angela M. Liu
Women Voters of Mississippi                Dechert, LLP
                                           35 W. Wacker Drive, Suite 3400
                                           Chicago, IL 60601
                                           312-646-5816
                                           angela.liu@dechert.com

                                           Julia Markham-Cameron
                                           Neil Steiner
                                           Dechert, LLP
                                           1095 6th Ave
                                           New York, NY 10036
                                           917-388-8304
                                           julia.markham-cameron@dechert.com
                                           neil.steiner@dechert.com

                                           Christopher J. R. Merken
                                           Dechert, LLP
                                           Cira Centre, 2929 Arch Street
                                           Philadelphia, PA 19104
                                           215-994-2380
                                           christopher.merken@dechert.com




                                             iii
      Case: 24-60395   Document: 16    Page: 5   Date Filed: 08/07/2024




                                      Davin M. Rosborough
                                      Sophia Lin Lakin
                                      ACLU Foundation, Inc.
                                      125 Broad Street, 18th Floor
                                      New York, NY 10004
                                      212-549-2613
                                      drosborough@aclu.org
                                      slakin@aclu.org

                                      Greta K. Martin
                                      Disability Rights Mississippi
                                      5 Old River Place, Suite 101
                                      Jackson, MS 39202
                                      601-968-0600
                                      gmartin@drms.ms
                                      Jacob Matthew van Leer
                                      ACLU Foundation, Inc.
                                      915 15th Street, NW, 6th Floor
                                      Washington, DC 20005
                                      603-277-0314
                                      jvanleer@aclu.org

                                      Joshua F. Tom
                                      ACLU of Mississippi
                                      P. O. Box 2242
                                      101 S. Congress Street
                                      Jackson, MS 39225-2242
                                      (601) 354-3408
                                      jtom@aclu-ms.org

Democratic National Committee         David W. Baria
                                      Cosmich, Simmons & Brown, PLLC
                                      P. O. Box 22626
                                      One Eastover Center
                                      100 Vision Drive, Suite 200
                                      Jackson, MS 39225-2626
                                      601-863-2100
                                      david.baria@cs-law.com




                                        iv
       Case: 24-60395      Document: 16    Page: 6    Date Filed: 08/07/2024




United States of America                  Kristen Clarke, Assistant Attorney General
                                          R. Tamar Hagler
                                          Timothy F. Mellett
                                          Janie Allison Sitton
                                          Sejal Jhaveri
                                          U.S. Department of Justice
                                          950 Pennsylvania Ave NW Washington,
                                          DC 20530 (202) 532-5610
                                          Sejal.Jhaveri@usdoj.gov

                                          Todd W. Gee, United States Attorney
                                          Angela Givens Williams
                                          Mitzi Dease Paige
                                          Assistant U.S. Attorneys
                                          501 E. Court St. Suite 4.430
                                          Jackson, MS 39201
                                           (601) 965-4480
                                          Angela.Williams3@usdoj.gov
                                          Mitzi.Paige@usdoj.gov



                                      /s/ Spencer M. Ritchie
                                      Spencer M. Ritchie
                                      Counsel for Republican Party Appellants




                                            v
          Case: 24-60395    Document: 16     Page: 7     Date Filed: 08/07/2024




                   CORPORATE DISCLOSURE STATEMENTS
      The Republican National Committee and the Mississippi Republican Party have

no parent corporation, and no corporation owns 10% or more of their stock. No

publicly traded company or corporation has an interest in the outcome of this case or

appeal.
                                         /s/ Spencer M. Ritchie
                                         Spencer M. Ritchie
                                         Counsel for Republican Party Appellants


      The Libertarian Party of Mississippi has no parent corporation, and no

corporation owns 10% or more of their stock. No publicly traded company or

corporation has an interest in the outcome of this case or appeal.

                                         /s/ T. Russell Nobile
                                         T. Russell Nobile
                                         Counsel of Record for Appellant Libertarian Party of
                                         Mississippi




                                              vi
           Case: 24-60395    Document: 16     Page: 8    Date Filed: 08/07/2024




                              MOTION TO EXPEDITE
      Plaintiffs in the consolidated cases—the Republican National Committee,

Mississippi Republican Party, James Perry, Matthew Lamb, and the Libertarian Party of

Mississippi—move under Federal Rule of Appellate Procedure 27 and Fifth Circuit

Local Rule 27.5 to expedite this appeal from the district court’s final judgment

dismissing the consolidated cases. See R.105. The Plaintiffs challenge the validity of

Mississippi’s mail-voting deadline under federal law. Expediting this appeal is warranted

given the close proximity of the November 2024 general election.

      I.       Background
      The Plaintiffs filed this suit to bring Mississippi’s mail-voting procedures in line

with federal law. Under its constitutional powers to regulate the “Time” of federal

elections, Congress has established a uniform federal election day. Elections for

Senators, Representatives, and presidential electors occur in the “Tuesday next after the

1st Monday in November” in two- and four-year cycles. 2 U.S.C. §7 (House); id. §1

(Senate); 3 U.S.C. §1 (President). This trio of statutes “mandates holding all elections

for Congress and the Presidency on a single day throughout the Union.” Foster v. Love,

522 U.S. 67, 70 (1997).
      For nearly all of its history, Mississippi required mail-in ballots to be returned

before election day. But in 2020, the Mississippi Legislature ordered that mail-in ballots

would be counted if they were postmarked by election day and received up to five

business days after election day. Miss. Code §23-15-637(1)(a). The Republican National

Committee, Mississippi Republican Party, James Perry, and Matthew Lamb filed a

complaint challenging that provision on January 26, 2024. See R.1. Just over a week later,


                                               1
         Case: 24-60395      Document: 16      Page: 9     Date Filed: 08/07/2024




the Libertarian Party of Mississippi filed a similar lawsuit in the same district court. See

Dkt. 1, No. 1:24-cv-37. Both cases claim that counting ballots received after “the day

for the election” violates the federal election-day statutes. 2 U.S.C. §7. They request

declaratory and injunctive relief against the Mississippi Secretary of State and several

county election officials to enforce compliance with federal law.

       The district court consolidated the cases in March. R.35. Given the purely legal
nature of the issues and the importance of resolving this case before the election, the

parties agreed to bypass discovery and brief cross-motions for summary judgment.

R.38. Meanwhile, Vet Voice Foundation and the Mississippi Alliance for Retired

Americans intervened in this case. R.6. They filed a notice with the district court

representing that they “agree that consolidation is appropriate and, if granted

intervention, are willing to abide by any schedule entered by the Court, including one

that dispenses of responsive pleadings and moves straight to summary judgment.” R.26.

       The parties completed summary judgment briefing on April 16. The Court

scheduled a hearing on the motions for July 9. After the hearing, the Court took the

motions under advisement. On July 28, the Court issued a mixed order on the summary
judgment motions. R.104. The Court denied the Defendants’ motions to dismiss the

case for lack of standing, and it granted summary judgment on the merits in Defendants’

favor. R.104. The Court issued final judgment the next day, R.105, and the Plaintiffs in

both cases filed timely notices of appeal.

       II.    Argument for Expedited Appeal
       Federal courts “shall expedite the consideration of any action … if good cause
therefor is shown.” 28 U.S.C. §1657(a); see also Fed. R. App. P. 2; 5th Cir. Rule 27.5.


                                                2
        Case: 24-60395      Document: 16      Page: 10    Date Filed: 08/07/2024




Good cause to expedite this appeal exists because Plaintiffs seek review of a final

judgment addressing the validity of key Mississippi election deadlines for the 2024

elections. The parties moved quickly in the district court to resolve this case in six

months. The Intervenors did not oppose that schedule. The district court issued its final

judgment last week, and the parties quickly appealed. Expedited briefing and argument

are necessary to resolve the rules that will govern the 2024 election.
      This Court often expedites election-related appeals in the run-up to an election.

See Veasey v. Abbott, 870 F.3d 387, 392 (5th Cir. 2017) (“The Clerk of the Court is

directed to issue an expedited briefing schedule and to calendar this matter for oral

argument before a merits panel on the court’s next available oral argument docket.”).

The Court expedites appeals both when it grants emergency relief, see id., and when it

denies emergency relief, see Robinson v. Ardoin, 37 F.4th 208, 215 (5th Cir. 2022) (per

curiam) (denying stay motion but “[n]evertheless … expedit[ing] this appeal to the next

available merits panel, to be selected at random from the regular merits panels already

scheduled to hear cases the week of July 4, 2022.” Id. Usually, the parties don’t even

need to ask—the Court expedites the appeal sua sponte. See id. at 232.
      Like those cases, this is a “voting case” that comes to the Court “on the eve of

the election.” Veasey, 769 F.3d at 892. But unlike some of those cases, this motion does

not ask the Court for extraordinary relief—it does not move to enjoin any law or stay

any court order. Cf. Reynolds v. Sims, 377 U.S. 533, 585 (1964) (“In awarding or

withholding immediate relief, a court is entitled to and should consider the proximity

of a forthcoming election and the mechanics and complexities of state election laws,

and should act and rely upon general equitable principles.”). Instead, this motion asks

                                               3
        Case: 24-60395      Document: 16        Page: 11   Date Filed: 08/07/2024




only for expedited briefing and argument to preserve the opportunity to resolve this

dispute before the “fast-approaching election date.” Veasey, 769 F.3d at 892; see also

Brown v. Sec’y of State of Fla., 668 F.3d 1271, 1274 (11th Cir. 2012) (expediting January

appeal of a challenge to a redistricting law due to “the shortness of time before the

national elections” in November).

      To that end, the parties moved quickly in the district court, obtaining a final
summary-judgment ruling in less than six months. This Court consistently expedites

appeals affecting upcoming elections, which often involve important, time-sensitive

issues. This appeal is no different. The Plaintiffs thus request the following schedule:

      Deadline for Appellants’ opening briefs: August 16

      Deadline for Appellees’ response briefs: September 9

      Deadline for Appellants’ reply briefs: September 16

      Argument, if ordered: First available panel after September 16

                                     *      *        *

      The State takes the following position on the motion to expedite, joined by the

County Defendants: The State consents to the request for expedited briefing and
expedited argument, on the limited ground that the State is willing to eliminate the need

for the Court to have to decide any motion, filed by plaintiffs-appellants, for an

injunction pending appeal. The State does not believe, however, that an expedited

decision is necessary and maintains that any decision by the Court cannot properly

change what is slated to happen, under current law, in the 2024 election.

      The Intervenor-Defendants oppose any motion for expedited briefing or

expedited argument.

                                                 4
          Case: 24-60395       Document: 16   Page: 12    Date Filed: 08/07/2024




                                       CONCLUSION
      For the foregoing reasons, the Plaintiffs request that the Court expedite this

appeal.

                                               /s/ Spencer M. Ritchie

          T. Russell Nobile                    Thomas R. McCarthy
          Judicial Watch, Inc.                 Conor D. Woodfin
          Post Office Box 6592                 CONSOVOY MCCARTHY PLLC
          Gulfport, MS 39506                   1600 Wilson Blvd., Ste. 700
          (202) 527-9866                       Arlington, VA 22209
          rnobile@judicialwatch.org            (703) 243-9423
                                               tom@consovoymccarthy.com
          Counsel for Appellant Libertarian    conor@consovoymccarthy.com
          Party of Mississippi
                                               Spencer M. Ritchie
                                               Forman Watkins & Krutz LLP
                                               210 East Capitol Street, Ste. 2200
                                               Jackson, MS 39201
                                               (601) 960-3172
                                               spencer.ritchie@formanwatkins.com

                                               Counsel for Republican Party Appellants
          Dated: August 7, 2024




                                               5
       Case: 24-60395      Document: 16     Page: 13      Date Filed: 08/07/2024




                           CERTIFICATE OF SERVICE
      I e-filed this brief with the Court, which will email everyone requiring
      service. Dated: August 7, 2024                   /s/ Spencer M. Ritchie


                        CERTIFICATE OF COMPLIANCE

      This motion complies with this Court’s type-volume limitations because it

contains 1,138 words and is 5 pages long using 14-point Garamond typeface.
            Dated: August 7, 2024                     /s/ Spencer M. Ritchie




                                              6
